                  THE THIRTEENTH COURT OF APPEALS

                                   13-16-00298-CV


                        Leslie Anne Gower and/or any and all
                     occupants and/or residents of the premises
                                         v.
                 Richard Womeldorf, as Independent Executor of the
                      Estate of John W. Womeldorf, deceased


                                 On Appeal from the
                 County Court at Law No 1 of Hidalgo County, Texas
                          Trial Cause No. CL-15-3094-A


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the appeal should be DISMISSED. The Court orders the appeal

DISMISSED in accordance with its opinion. Costs of the appeal are adjudged against

appellant.

      We further order this decision certified below for observance.

September 2, 2016
